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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JAKE M. REINHARDT, TAYLOR M. SCHMIEDER,
KEVIN R. HARRINGTON, CASEY E. CARMINATI,
and KRYSTYNA KIMBRELL,
                                       Plaintiffs,

       v.                                                           Case No. 21-cv-00206
THE CITY OF BUFFALO, BYRON LOCKWOOD,
JOHN DOE No. 1, JOHN DOE No. 2,
JOHN DOE No. 3, JOHN DOE No. 4,
JOHN DOE No. 5, JOHN DOE No. 6,
JOHN DOE No. 7, BAIL SHOP, LLC
AGENT D. WHITE, JOHN DOE No. 8,
FINANCIAL CASUALTY & SURETY, INC., and
CORPORATION X,
                                       Defendants.


                    NOTICE OF WITHDRAWAL OF ATTORNEY

               Pursuant to Local Rule 83.2(c)(3), the undersigned hereby affirms that:

               1.     David Short is no longer affiliated with Hodgson Russ LLP, counsel for

defendants, effective June 17, 2022;

               2.     David Short should be removed from the docket as counsel of record for

defendants; and

               3.     Peter A. Sahasrabudhe and Adam W. Perry remain affiliated with

Hodgson Russ and will continue to represent defendant Financial Casualty & Surety, Inc. They

should continue to receive service of all subsequent written communications, pleadings, notices,

or other papers.
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Dated: Buffalo, New York
       October 17, 2022
                                        HODGSON RUSS LLP
                                        Attorneys for Defendant
                                        Financial Casualty & Surety, Inc.


                                        By:   s/ Peter A. Sahasrabudhe
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